

People v Garcia (2025 NY Slip Op 02605)





People v Garcia


2025 NY Slip Op 02605


Decided on April 30, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 30, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

FRANCESCA E. CONNOLLY, J.P.
ROBERT J. MILLER
LOURDES M. VENTURA
JAMES P. MCCORMACK, JJ.


2024-11959
 (Ind. No. 1320/20)

[*1]The People of the State of New York, plaintiff,
vOsvaldo Garcia, defendant.


Patricia Pazner, New York, NY (Sarah O'Leary of counsel), for defendant. 
Melinda Katz, District Attorney, Kew Gardens, NY (Johnnette Traill, William H. Branigan, and Lucy E. Pannes of counsel), for plaintiff.



DECISION &amp; ORDER
Application by the defendant for a writ of error coram nobis seeking leave to file a late notice of appeal from a judgment of the Supreme Court, Queens County (Karen Gopee, J.), rendered February 16, 2022.
ORDERED that the application is granted, and the defendant's application is deemed to be a timely notice of appeal.
The defendant has established his entitlement to the relief requested (see People v Syville, 15 NY3d 391).
CONNOLLY, J.P., MILLER, VENTURA and MCCORMACK, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








